Case 2:04-cr-20038-STA Document 54 Filed 07/21/05 Page 1 of 2 Page|D 40

IN THE UNITED STATES DISTRICT COURT "“"" ‘ '
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUL 2| AH |0. 07

 

WESTERN DIVISION
NOM"SH f.w GOJLD
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UNITED STATES OF AMERICA, ) 01 -I-j 5.,4 qéuijC:OURrS

)
Plaintiff, )

) Criminal No. 04-20038/B
vs. )
)
LORENZO HIBBLER, )
Defendant. )

ORDER T0

SUPPLEMENT THE RECORD BELOW

 

Upon good cause shown, the record in the above matter is supplemented With documents
as described in the government’s motion. lt is hereby ORDERED, ADJUDGED AND

DECREED THIS §§ day Of July, 2005.

 

IEL BREEN

@D sTArEs DISTRICT CE)LLRT JUDGE
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Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
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Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

